      Case 6:23-cv-06359-EAW-MJP Document 11 Filed 09/13/23 Page 1 of 4




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________

JASON SINGLETON

                                                             ORDER
                       Plaintiff,
                                                             23-CV-6359-EAW-MJP
               v.

THE CITY OF GENEVA ET AL

                  Defendants.
________________________________________


       Pursuant to the order of the Hon. Elizabeth A. Wolford, United States District Judge,

referring the above case to the undersigned for pretrial procedures and the entry of a scheduling

order as provided in Fed. R. Civ. P. Rule 16(b) and Local Rule 16, the parties are hereby directed

to fully comply with Federal Rule of Civil Procedure 26.

               All parties are reminded that effective December 1, 2015, Rule 26 of the Federal

Rules of Civil Procedure was amended.      These amendments address the scope and conduct of

discovery.   All parties are expected to be familiar with and fully comply with the

requirements of amended Rule 26 of the Federal Rules of Civil Procedure.

               Based on the foregoing, it is hereby

               ORDERED that each party, including any party appearing without counsel, shall

appear before the undersigned on October 18, 2023, at 10:15 a.m., 1360 United States

Courthouse, 100 State Street, Rochester, New York for the purpose of entry of a scheduling

order as required by Rule 16(b) of the Federal Rules of Civil Procedure; and it is further

               ORDERED that pursuant to Rule 26(f) of the Federal Rules of Civil Procedure,

the parties shall confer at least 21 days prior to the Rule 16(b) conference as scheduled above for
      Case 6:23-cv-06359-EAW-MJP Document 11 Filed 09/13/23 Page 2 of 4




the purpose of preparing the “Proposed Discovery Plan” (PDP) required by Rule 26(f)(3).       The

PDP shall be in writing and shall specifically address relevant issues concerning the management

of all pretrial discovery practice in this case, including:

               1.              In her referral order, Judge Wolford has specifically encouraged
                               the parties to consider the provisions of 28 U.S.C. §636(c)
                               governing consent to complete disposition of the case (including
                               trial, if necessary) by this Court. The parties shall state in the
                               PDP whether or not unanimous consent to Magistrate Judge
                               jurisdiction has been agreed upon.

               2.              Deadline for compliance with the mandatory disclosure
                               requirements found in Rule 26(a)(1) of the Federal Rules of Civil
                               Procedure. Any objections to the required disclosures must also
                               be stated in the PDP.

               3.              Deadline for the filing of motions to amend the pleadings or add
                               parties.

               4.              Deadline for completion of fact discovery.

               5.              If expert discovery is contemplated by any party, a deadline for the
                               completion of all expert discovery, including full compliance with
                               Rule 26(a)(2) regarding the identification and filing reports of
                               testifying experts.

               6.              Deadline for the filing of motions to compel discovery.

               7.              Any Orders that should be entered under Rule 26(c)
                               (protective/confidentiality orders).

               8.              Any changes in the limitations on discovery as provided in Rule 30
                               (oral depositions), and Rule 33 (interrogatories practice) and Rule
                               34 (document requests).

               9.              Any issues that the parties reasonably foresee concerning
                               discovery of electronically stored information, including the form
                               or forms in which it should be produced.

               10.             Any agreements between the parties concerning assertions of
                               claims of attorney-client privilege or work-product protection after


                                                   2
      Case 6:23-cv-06359-EAW-MJP Document 11 Filed 09/13/23 Page 3 of 4




                               information is produced, including agreements reached under
                               Federal Rule of Evidence 502.

               11.             Deadline for the filing of dispositive motions.

               12.             The advisability and timing of a judicially supervised settlement
                               conference or other alternative dispute resolution, including
                               mediation.

               13.             The parties shall advise whether a jury trial is required and the
                               estimated length of the trial.


               After meeting, the parties shall prepare a written PDP as required by Rule 26(f)

and electronically file the PDP report with the Clerk’s Office no later than 4 business days

prior to the Rule 16(b) conference as herein scheduled.        At the conclusion of the Rule 16(b)

conference and after conferring with the parties, this Court will issue a scheduling order

governing all further pretrial proceedings in this action.   Out-of-town attorneys may submit a

letter requesting to participate in the Rule 16 conference by telephone.

               The parties are reminded of their duty to preserve evidence, which “arises when

the party has notice that the evidence is relevant to litigation or when a party should have known

that the evidence may be relevant to future litigation.” Fujitsu Ltd. v. Fed. Exp. Corp., 247 F.3d

423, 436 (2d Cir. 2001).

IT IS SO ORDERED.

                                                              /s/ Mark W. Pedersen
                                                              MARK W. PEDERSEN
                                                              United States Magistrate Judge
Dated: Rochester, New York
       September 13, 2023




                                                  3
              Case 6:23-cv-06359-EAW-MJP Document 11 Filed 09/13/23 Page 4 of 4

UNITED STATES DISTRICT COURT
Western District of New York

JASON SINGLETON,
                                                            NOTICE, CONSENT, AND ORDER OF REFERENCE -
                 Plaintiff                                  EXERCISE OF JURISDICTION BY A UNITED STATES
                                                            MAGISTRATE JUDGE
                       v.
                                                            23-CV-6359-EAW-MJP
THE CITY OF GENEVA ET AL,

                 Defendant

                      NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                                       TO EXERCISE JURISDICTION

        In accordance with the provisions of 28 U.S.C. §636(c), and Fed.R.Civ.P. 73, you are notified that a United
States magistrate judge of this district court is available to conduct any or all proceedings in this case including a jury or
nonjury trial, and to order the entry of a final judgment. Exercise of this jurisdiction by a magistrate judge is, however,
permitted only if all parties voluntarily consent.

          You may, without adverse substantive consequences, withhold your consent, but this will prevent the court’s
jurisdiction from being exercised by a magistrate judge. If any party withholds consent, the identity of the parties
consenting or withholding consent will not be communicated to any magistrate judge or to the district judge to whom the
case has been assigned.

       An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States court of
appeals for this judicial circuit in the same manner as an appeal from any other judgment of a district court.

         CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

          In accordance with the provisions of 28 U.S.C. §636(c) and Fed.R.Civ.P. 73, the parties in this case consent to
have a United States magistrate judge conduct any and all proceedings in the case, including the trial, order the entry of
a final judgment, and conduct all post-judgment proceedings.

        Party Represented                                       Signatures                                 Date


_________________________________             _____________________________________               ____________________

_________________________________             _____________________________________               ____________________

_________________________________             _____________________________________               ____________________

_________________________________             _____________________________________               ____________________



                                                ORDER OF REFERENCE

       IT IS ORDERED that this case be referred to Mark W. Pedersen, United States Magistrate Judge, to conduct all
proceedings and order the entry of Judgment in accordance with 28 U.S.C. §636(c) and Fed.R.Civ.P. 73.


_____________________________________              _______________________________________________________
             Date                                                 United States District Judge


NOTE: RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES HAVE CONSENTED ON
      THIS FORM TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
